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                                                                         USDC SDNY
                                                                         DOCUMENT
                                                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                         DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                         DATE FILED: 7/22/2020
------------------------------------------------------------------X
SOMERA CAPITAL MANAGEMENT, LLC,                                   :
                                                                  :
                                                    Plaintiff, :
                                                                  :          1:19-cv-08291-GHW
                              -against-                           :
                                                                  :                ORDER
SOMERA ROAD, INC.,                                                :
                                                                  :
                                                 Defendant. :
------------------------------------------------------------------X


GREGORY H. WOODS, United States District Judge:

         By letter dated July 20, 2020, the parties have informed the Court that this case has settled.

Accordingly, it is hereby ORDERED that this action be conditionally discontinued without

prejudice and without costs; provided, however, that within thirty (30) days of the date of this

Order, the parties may submit to the Court their own Stipulation of Settlement and Dismissal. 1

Otherwise, within such time Plaintiff may apply by letter for restoration of the action to the active

calendar of this Court in the event that the settlement is not consummated. Upon such application

for reinstatement, the parties shall continue to be subject to the Court’s jurisdiction, the Court shall

promptly reinstate the action to its active docket, and the parties shall be directed to appear before

the Court, without the necessity of additional process, on a date within ten (10) days of the

application, to schedule remaining pretrial proceedings and/or dispositive motions, as appropriate.

This Order shall be deemed a final discontinuance of the action with prejudice in the event that

Plaintiff has not requested restoration of the case to the active calendar within such 30-day period.




1
  As explained in Rule 4(D) of the Court’s Individual Rules of Practice in Civil Cases, the Court will not retain
jurisdiction to enforce confidential settlement agreements. If the parties wish that the Court retain
jurisdiction to enforce the agreement, the parties must place the terms of their settlement agreement on the
public record.
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        The Clerk of Court is further directed to terminate all pending motions, adjourn all

remaining dates, and to close this case.

        SO ORDERED.

    Dated: July 22, 2020                            _____________________________________
                                                             GREGORY H. WOODS
                                                            United States District Judge




                                                   2
